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UNlTED STATES
SECURITIES AND EXCHANGE COMMISSION
NEW YoRK REGIONAL 01=FICE Na“°y A- Br°“'“
BROOKFIELD PLACE, 200 vEsEY sTREET (217-) 336-1023
Suite 400 brownn@sec. gov

NEW YORK, NEW YORK |0281-1022

March 26, 2019
Via ECF

Hon. Jose L. Linares, Chief Judge

United States District Judge

U.S. District Couit, District of New Jersey
Mattin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

Re: SEC v. DelPresto. et al_.: 15-CV-8656 (JLL)
Dear Judge Linares:

We represent Plaintiff Securities and Exchange Commission (“Commission”) in this
action. We enclose for the Court’s consideration courtesy copies of partial Judgments on
consent against Defendants DelPresto and his entity, MLF Group LLC, by which those
Defendants have consented to the imposition of injunctive relief against each of them, leaving
the resolution of the Commission’s claims for monetary relief to resolution by further consent or
motion. If the partial Judgments are satisfactory to the Court, we respectfully request that the
Court docket each Judgment with its respective consent.

With respect to Defendant Toomer, the criminal action against him has now been fully
resolved, and the Stay in this matter should be litted to permit the Commission’s claims against
him to go forward, pursuant to the Stipulation and Order entered December 4, 2017 (DE 36.)
Under the terms of that Stipulation and Order, Defendant Toomer’s answer is due 30 days after
March 20, 2019. (See United States v. Toomer, 17 Cr. 0193 (D. Nev.) (DE 111 (Order
Dismissing Indictment).) The Commission respectliilly requests that the Court set a date for a
Scheduling Conference as soon after Toomer’s answer is due as practicable, so that the parties
may begin discovery.

Respectfully submitted,
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N cy A. Brown

Enclosures
cc (via email):

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Amy Luria, Esq.

(Counsel for Defendant Donald Toomer)

